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INTERVIEW WITH THE ULTIMATE WARRIOR - books by
PART 4 OF 4 Dan Flynn

You can read part one of the series here. Part huo of the series is here. Part three is here.
INTELLEGTUAL

FLYNN |: What do you do to keep physically healthy these days? And as you've gotten older M 0 R 0 N $
as your routine changed? —

WARRIOR |: My routine has changed some but not much, I still work out very hard, with 6
alot of intensity right from the start, and I always do the basies, They are harder to do and

ee eee : HOW 1DE ¥ Ma
staying with them keeps me disciplined, All my sets from the first one are to failure, I do Oued KES

though, today, think differently about how my training affects me. In other words, my SEAS EDEL
concerns aren't fueled primarily by how Ilook in my underwear, if you will, I'm not running FALL FOR

around in trunks every night, under a critical or professional microscope. What drives me STUPIO IDEAS
more is how healthy l am—mechanically and physiologically healthy Lam. My bodyweight is

lighter by 25-40 pounds, but Iam very lean. The biggest thing for me to keep the higher DANIEL J. FLYNE
weight on is eating the quantity of food it takes. And, many won't get this—the time expended Hoehad tN WL LAD OR FNM

in thinking about what you want to look like that it takes. Ata higher level of physique
development, thinking about building musele can be the biggest factor involved. Every time I
left, got away from that body goal, being in the ring every night, I would quickly drop pounds
simply because the goal was not there driving me. But whenever I knew L-was coming back, I
could put on 20 pounds the first week; from training and eating of course, but more from
thinking about my body getting bigger, thicker.

My goals and my interests are not the eame teday, and eating those kinds of portions of food,
devoting those kinds of energies, etc., would just be a waste of time and effort for me. When T
was petting paid for that, [had a reason to devote that kind of ime, energy, and effort. But 1
got other things I not only want to do but have te do to be productive in my life. Spending 8-
10 self-absorbed hours just to be the big guy in the gym, keep atan, have tight shirt-sleeves
would be counterproductive, and unfair to my family who depend on me to provide their life
security. I tell that to people and Tecan tell they don't get what I mean. Like, if you can be the
big-guy why wouldn't you want to always be the big guy? Well, I've done the big muscle-guy
thing, In gyima all over the world I've done it. I don't need to do it anymore. If I did, I'd say]
would bea pretty pathetic human being. There are guys I met 20 years ago at Gold's Gym still
running around in their spandex, groveling for $30-50 bucks an hour training people. Come
on, give the world a break. Go get a life.

recommended
T remember when Armold first showed up in the movies with less musele than others were
accustomed to seeing him having. Like his physique was what would always make him, be intel betters
where his success lied. They couldn't see that he was becoming not only bigger in other ways enemas eee
but also very wealthy, onl
rdf

Anyway, yes, working out is something 1 will alweys do, it is a part of being a conservative to
me. And when I meet conservatives who don't get that, Lam-apt to think less of the brand of site design:
conservatism they espouse. You know, people should take care of their bodies. It goes a long
way toward making positive a lot of other things—your health (especially later in life), your
relationship with your spouse, and the others you love, being able to be active, your mental
frame of mind, your outlook on life,

PAB arouse, QR ae

FLYNN |: IT noticed when we worked out you stress form big-time, you do alot ofreps,and | , 7 ioc ae
you take very little rest between reps. Do you ever go heavy these days? When you were Gee ace a a
weighing 300 pounds or so, what kind of weight were you putting up back then? = eS

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WARRIOR): Well, yeah. I mean, I've been working out for over 30 years. I've switched

ings up quite a bit over that time span. I go back and forth. I did some powerlifting and very
heavy training. You have to build muscle. You can't just do pansy-ass stuff. You've got to get
in there and face your fears, handle some iron. When I first got in the business, I could do
behind-the-head presses sitting down with over 315 pounds.

FLYNN |: How about benching. What were you putting up?

WARRIOR| ; Over 500 pounds, I think the most 1 ever benched was like 960, Really heavy
squats up around 600 pounds.

But when I got in the business, that wasn't necessary anymore. I was using the whole body in
the ring—twisting and torqueing my body in ways that powerlifting-style training would not
have helped me to have the career I did performing the Ultimate Warrior character. Part of
my plan to make the character better and better and better was to make him leaner and
tighter—more comic book physique like.

FLYNN |: When you go into the gym these days, what are the biggest mistakes that you see
people making?

WARRIOR |: Sleeping on the equipment (laughs), I'm not kidding, When I go into the
gym at four o'clock am here there are people sleeping on the equipment. Talking while you do
your sets. Man that irritates me to no end to see people yaking while they work out...

They don't do the exercises. properly. You've got to learn the form. The strength will come.
They do half-ass movements. They don't really work the body parts that the exercise that they
are doing is supposed to be working. They don't do whale bedy, They don't do-abs and calves,
and they don’t do any legs. They do a lot of upper-body stuff, especially young kids. They
never getinto the leg room and do any legs. Never. They don't do the basics, they do the
machine stufft—which is a huge mistake, You always want to stick te the basics, éxcept on
some of those exercises like when we worked out together in DC—the pull-downs—but
otherwise you want to do the basic exercises. Those are the mistakes I see. People don't know
what the hell they are doing. Yet you see them prance around like they and their bodies are
God's flawless gifts... [can only imagine how their whole look falls apart when they get home
and take off the tight belts and spandex...

FLYNN |: Moving on from sound body to sound mind. We talked a little earlier about there

eing a change in your life and you starting to view things differently. Did you come under the
influence of certain books? How did you start seeing the world differently? Were there any
books you read that changed your thinking or any figures who influenced you to become a
conservative?

WARRIOR} : Well, eventually, the Great Books of the Western World—truly, the writings

y mankind's greatest and original seckers of knowledge. One of the first books I went and
bought was How to Read a Book. Of course I knew how to read but wanted to be better at
retaining what I read, to turn it into useable knowledge. I picked up that classic book by
Mortimer Adler, How to Read-a Book, and that turned me on to the Great Books of the
Western World. And once I opened those books, I knew that was where I was supposed to be
at that time in my life. Like I've always believed about my life—all my experiences—from
when I was alittle boy and how 1 thought about things, how I fantasized about taking on
challenges in my life, creating my own inner-Wartior, so to speak, how I was as a young man
coming to the place in my life where I had the bodybuilding experiences that I did, coming to
a place in my life where I created this vivid, intense Ultimate Warrior character that will stand
the test of time—none of those things are a coincidence to me. These are all experiences, 1
believe, that are part of my entire life's destiny that is playing itself out. And when I crossed
paths with the Great Books of the Western World, where the purpose of those books and
those writers is the pursuit of human excellence, I said: “This is it. This is it for me. This is
what I'm supposed to be doing.” It wasn'ta coincidence for me that I was at that crossroads at
that moment in my life.

For fifteen or twenty years of my life I had been in the pursuit of what I could do to excel

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athletically, with my body. And here I was discovering all these ultimate thinkers, if you will.
And what is life ifit isn’t a body, mind and soul journey— trying to engage each one of those
fully as one can, Warrior as an idea means that to me. Here I had this unique male experience
as a contemporary sort of super-hero in the wrestling arena. And then vis-a-vis the writings of
Western Civilization, Aristotle , and Homer and all the histories and the way they lived, the
palestra where they exercised when young—at wrestling no less!—then later how they
educated and enlightened themselves to later become statesman. It all just sorta incredibly fit
for me. This is just the abbreviated story, but I knew that's where the rest of my life was going.
That's what I needed to do. I just embraced it entirely. And that’s what I've been doing aver
since, And that's what led me to get involved in the conservative movement,

FLYNN : And how have you been invelved, primarily speaking? Or what else?

WARRIOR | : Through speaking, and I doa lot of writing at my website. I probably have
near 500 or so pages of essays on different topics—education, conservatism, this country,
cultural issues, my time in the business, people, things, places etc,

FLYNN | : What's your website?

WARRIOR): wow.ultimatewarrior.com, You can also get good stuff at my speaker's page.
There is a bio and there are transcripts of my speeches.

T haven't been doing what I am doing today for twenty years. But I know how far I've come in
the last five years. 1 know how much further I'm going to go in ten years. 1 know how hard I
work at it. Everything I'm doing now isa continual work in progress. I'd like to get some gigs
writing columns but my pieces are longerand more personal, and it'd take someone spending
the time to mentor me about how to tweak them to get that done. But Ido know I have
greater passion than other people. And the truth is my experiences give me greater
background to talk about mentoring and male role-modeling, make a stronger, longer lasting
impression. Not just that I have had those experiences, that wouldn't be enough. But that I
have alse spent the time in self-study and have the interest in traditional conservatism and
Western Civilization like Ido. Too many guys pontificating on how to be a man in its classical
sense have never acted like a man in its classical sense. Of course, that we live in gender
neutral times hasn't helped any. But we need to get back to breeding real men in this country,
in the ways they think and act.

FLYNN |: Do you think you were always a conservative and maybe didn't know it?

WARRIOR |: Philosophically, yes. And, when I go out and talk, 1 make a distinction
tween philosophy and politics. I believe if you live by a conservative philosophy then you

will want conservative polities. You may not find any today (laughs), but it is what you will

want. Government isn't going to work in the world until people live by the right philosophy.

I define conservatism literally: It's about preserving those things that have worked
throughout time. This begins with the sustaining tradition that people need to think and
provide for themselves. People who think make the world work, not those who feel, And I'm
not blinded by the irony that the fundamental difference today between conservatism and
liberalism is thinking versus feeling, using one over the other to conduct human life and
society at large. This country was Founded depending on that. Common sense isn't “in”
anymore and this country was built on common sense. You know, the most impressionable
piece of enlightenment I found through my study of American history is that all the Founding
Documents—the Declaration of Independence, the Constitution, Federalist Papers , and all
the ancillary communication between the Founding Fathers—all of it put before the
Founders—is that all these writings were written, then, in language that was understood by
the common sense of the people. And yet it is uncommon today to find anybody who's even
read thern let alone has sense enough able to understand them at all. Traditionally, the
question used to be "Who doesn't get that?" Now, the question is: “Who does?” This is
followed wp with “Who Cares?”

There just some things I always did that are conservative as I define it. 1 worked hard,
believed in myself, stayed optimistic, and persisted.

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